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                EXHIBIT A
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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                         :    CRIMINAL NO. 21-cr-582
                                                  :
                v.                                :
                                                  :    VIOLATIONS:
 MICHAEL A. SUSSMANN,                             :    18 U.S.C. § 1001(a)(2)
                                                  :    (Making a False Statement)
                        Defendant.                :
                                                  :

                                        INDICTMENT

       The Grand Jury charges that:

A.     Introduction and Overview

       1.      In or about late October 2016 – approximately one week before the 2016 U.S.

Presidential election – multiple media outlets reported that U.S. government authorities had

received and were investigating allegations concerning a purported secret channel of

Communications between the Trump Organization, owned by Donald J. Trump, and a particular

Russian bank (“Russian Bank-1”).

       2.      According to one of these articles published by a major U.S. newspaper

(“Newspaper-1”), intelligence officials possessed information concerning “what cyber experts said

appeared to be a mysterious computer back channel between the Trump Organization and [Russian

Bank-1].” The article further reported that the Federal Bureau of Investigation (“FBI”) had “spent

weeks examining computer data showing an odd stream of activity to a Trump Organization

server,” and that “[c]omputer logs obtained by [Newspaper-1]” showed “that two servers at

[Russian Bank-1] sent more than 2,700 ‘look up’ messages . . . to a Trump-connected server
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beginning in the spring.” According to other articles, this information had been assembled by an

anonymous computer researcher who used the moniker “Tea Leaves.”

       3.      The FBI had, in fact, initiated an investigation of these allegations in response to a

meeting that MICHAEL A. SUSSMANN, the defendant herein – a lawyer at a major international

law firm (“Law Firm-1”) – requested and held with the FBI General Counsel on or about

September 19, 2016 at FBI Headquarters in the District of Columbia. SUSSMANN provided to

the FBI General Counsel three “white papers” along with data files allegedly containing evidence

supporting the existence of this purported secret communications channel.

       4.      During the meeting, SUSSMANN lied about the capacity in which he was

providing the allegations to the FBI. Specifically, SUSSMANN stated falsely that he was not doing

his work on the aforementioned allegations “for any client,” which led the FBI General Counsel

to understand that SUSSMANN was acting as a good citizen merely passing along information,

not as a paid advocate or political operative. In fact, and as alleged in further detail below, this

statement was intentionally false and misleading because, in assembling and conveying these

allegations, SUSSMANN acted on behalf of specific clients, namely, (i) a U.S. technology

industry executive (“Tech Executive-1”) at a U.S. Internet company (“Internet Company-1”), and

(ii) the Hillary Clinton Presidential Campaign (the “Clinton Campaign”).

       5.      SUSSMANN’s lie was material because, among other reasons, SUSSMANN’s

false statement misled the FBI General Counsel and other FBI personnel concerning the political

nature of his work and deprived the FBI of information that might have permitted it more fully to

assess and uncover the origins of the relevant data and technical analysis, including the identities

and motivations of SUSSMANN’s clients.




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       6.      Had the FBI uncovered the origins of the relevant data and analysis, and as alleged

below, it might have learned, among other things, that (i) in compiling and analyzing the Russian

Bank-1 allegations, Tech Executive-1 had exploited his access to non-public data at multiple

Internet companies to conduct opposition research concerning Trump; (ii) in furtherance of these

efforts, Tech Executive-1 had enlisted, and was continuing to enlist, the assistance of researchers

at a U.S.-based university who were receiving and analyzing Internet data in connection with a

pending federal government cybersecurity research contract; and (iii) SUSSMANN, Tech

Executive-1, and Law Firm-1 had coordinated, and were continuing to coordinate, with

representatives and agents of the Clinton Campaign with regard to the data and written materials

that SUSSMANN gave to the FBI and the media.

       7.      The FBI’s investigation of these allegations nevertheless concluded that there was

insufficient evidence to support the allegations of a secret communications channel with Russian

Bank-1. In particular, and among other things, the FBI’s investigation revealed that the email

server at issue was not owned or operated by the Trump Organization but, rather, had been

administered by a mass marketing email company that sent advertisements for Trump hotels and

hundreds of other clients.

B.     The Defendant

       8.      At all times relevant to this Indictment, SUSSMANN was employed at Law Firm-

1. Previously, SUSSMANN was employed by the U.S. Department of Justice (“DOJ”) in various

capacities. In his work at the DOJ, SUSSMANN became familiar with U.S. criminal laws,

including Title 18, United States Code, Section 1001, which criminalizes the making of materially

false statements to U.S. officials.




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       9.     In his Work at Law Firm-1, SUSSMANN represented numerous clients in

cybersecurity, privacy, and national security-related matters. In or about April 2016, the

Democratic National Committee (“DNC”) retained SUSSMANN to represent it in connection with

the hacking of its email servers by the Russian government. In connection with his representation

of the DNC as the victim of a hack, the defendant met and communicated regularly with the FBI,

the DOJ, and other U.S. government agencies. In or around the same time period, SUSSMANN

was also advising the Clinton Campaign in connection with cybersecurity issues.

C.     Law Firm-1 and Its Role in the 2016 Presidential Election Campaign

       10.    Law Firm-1 was at all times relevant to this Indictment an international law firm

based in the United States. In or about April 2015, the Clinton Campaign retained Law Firm-1 as

its counsel for the 2016 U.S. Presidential election. A law partner at Law Firm-1 (“Campaign

Lawyer-1”) acted as the Clinton Campaign’s General Counsel.

       11.    As part of its efforts to assist the Clinton Campaign and the DNC, Law Firm-1

retained a particular investigative Firm (the “U.S. Investigative Firm”) to gather information

regarding Trump’s purported ties to Russia. Throughout the Presidential campaign, the U.S.

Investigative Firm worked with Law Firm-1, members of the media, and others to gather and

disseminate purported evidence of Trump’s ties to Russia.

D.     Tech Executive-1

       12.    Tech Executive-1 was at all times relevant to this Indictment an executive of a

particular Internet company (“Internet Company-1”), which offers various Internet-related

services and products, including Domain Name System (“DNS”) resolution services, to its

customers. (DNS is a naming system for devices connected to the Internet that translates

recognizable domain names, e.g., http://www.google.com, to numerical IP addresses, e.g.,



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123.456.7.89. A DNS “lookup” refers to an electronic request by à particular computer or device

to query information from another device or server.)

       13.     By virtue of his position at Internet Company-1 and other companies, Tech

Executive-1 maintained direct or indirect access to, and the ability to provide others access to,

large amounts of internet and cybersecurity data, including DNS data.

       14.     In or about February 2015, Tech Executive-1 retained SUSSMANN as his lawyer

in connection with a matter involving an agency of the U.S. government. SUSSMANN also

frequently served as outside counsel to Internet Company-1, which was a significant source of

revenue for Law Firm-1 and SUSSMANN. At all times relevant to this Indictment, Tech

Executive-1 served as SUSSMANN’s primary point of contact at Internet Company-1.

       15.     In or about November 2016, Tech Executive-1 claimed to have been previously

offered a position in the government in the event Hillary Clinton won the Presidency, stating in an

email days after the U.S. Presidential election: “I was tentatively offered the top [cybersecurity]

job by the Democrats when it looked like they’d win. I definitely would not take the job under

Trump.”

E.     The Russian Bank Allegations

       16.     By in or around late July 2016, the aforementioned computer researcher who used

the moniker “Tea Leaves” (“Originator-1”) had assembled purported DNS data reflecting apparent

DNS lookups between Russian Bank-1 and an email domain, “mail1.trump-email.com” (the

“Russian Bank Data”). The purported data spanned the time period from on or about May 4, 2016

through on or about July 29, 2016.




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          17.   At all times relevant to this Indictment, Originator-1 was a business associate of

Tech Executive-1. By in or about July 2016, Tech Executive-1 and others were in possession of

the Russian Bank Data.

          18.   Also, in or about July 2016, Tech Executive-1 alerted SUSSMANN to the Russian

Bank Data.

          19.   Over the ensuing weeks, and as part of their lawyer-client relationship,

SUSSMANN and Tech Executive-1 engaged in efforts with Campaign Lawyer-1 and individuals

acting on behalf of the Clinton Campaign to share information about the Russian Bank Data with

the media and others, claiming that it demonstrated the existence of a secret communications

channel between the Trump Organization and Russian Bank-1.

 SUSSMANN Bills the Clinton Campaign for His Communications with Tech Executive-1 and
                                Campaign Lawyer-1

          20.   From in or about late July through in or about mid-August 2016, SUSSMANN,

Tech Executive-1, and Campaign Lawyer-1 coordinated and communicated about the Russian

Bank-1 allegations during telephone calls and meetings, which SUSSMANN billed to the Clinton

Campaign (denoted in Law Firm-1’s billing records by its official corporate name, “HFACC,

Inc.”).

                a.     For example, on or about July 29, 2016, SUSSMANN and Campaign

Lawyer-1 met with personnel from the U.S. Investigative Firm in Campaign Lawyer-1’s office.

SUSSMANN billed his time in this meeting to the Clinton Campaign under the category “General

Political Advice” with the billing description “meeting with [Campaign Lawyer-1], others

regarding [] confidential project.” (For all of SUSSMANN’s other billing entries cited herein that

he billed to the Clinton Campaign, he similarly billed his time to the campaign under the category

“General Political Advice”).


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               b.     On or about July 31, 2016, SUSSMANN billed the Clinton Campaign for

twenty-four minutes with the billing description, “communications with [Campaign Lawyer-1]

regarding server issue.”

               c.     On or about August 12, 2016, SUSSMANN, Campaign Lawyer-1, and Tech

Executive-1 met in Campaign Lawyer-1’s office. In connection with this meeting, SUSSMANN

billed his time to the Clinton Campaign with the billing description “confidential meetings with

[Campaign Lawyer-1], others.”

               d.     In or around the same time period, SUSSMANN, Campaign Lawyer-1, and

personnel from the U.S. Investigative Firm began exchanging emails with the subject line,

“Connecting you all by email.”

               e.     On or about August 17, 2016, SUSSMANN, Campaign Lawyer-1, and Tech

Executive-1 conducted an additional conference call. SUSSMANN billed this time to the Clinton

Campaign with the billing descriptions “telephone conference with [Tech Executive-1],

[Campaign Lawyer-1].”

               f.     On or about August 19, 2016, SUSSMANN and Campaign Lawyer-1

conducted an additional in-person meeting that appeared in SUSSMANN’s calendar as “Meeting

with [Tech Executive-l’s first name].” SUSSMANN billed this time to the Clinton Campaign

within the billing description stating, in part, “confidential meeting with [Campaign Lawyer-1],

others[.]”

               g.     Later in or about August 2016, Tech Executive-1 exchanged emails with

personnel from the U.S. Investigative Firm.




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    Tech Executive-1 Uses His Access at Multiple Internet Companies to Conduct Opposition
                     Research and Create a “Narrative” Regarding Trump

          21.    As alleged in further detail below, in or around the same time period – and in

furtherance of his efforts with SUSSMANN and Campaign Lawyer-1 to disseminate allegations

regarding Trump – Tech Executive-1 used his access at multiple organizations to gather and mine

public and non-public Internet data regarding Trump and his associates, with the goal of creating

a “narrative” regarding the candidate’s ties to Russia.

          22.    Tech Executive-1 later shared certain results of these data searches and analysis

with SUSSMANN so that SUSSMANN, in turn, could provide them to the media and the FBI.

         Tech Executive-1 Obtains Internet Data Relating to Trump from Internet Company-2

                 a.     For example, in or about early August 2016 – the same time period of his

aforementioned communications with SUSSMANN and Campaign Lawyer-1 – Tech Executive-

1 directed and caused employees of two companies in which he had an ownership interest

(“Internet Company-2” and “Internet Company-3”) to search and analyze their holdings of public

and non-public internet data for derogatory information on Trump.

                 b.     At all times relevant to this Indictment, Internet Company-2 was a company

that, among other things, collected DNS data from various points on the Internet.

                 c.     At all times relevant to this Indictment, Internet Company-3 was owned by

the same company as Internet Company-2. As part of its business, Internet Company-3 received

data that had been collected by Internet Company-2 or its parent company, and then used and

analyzed that data in order to advise its private sector customers on cybersecurity and business

risks.

                 d.     In or about early August 2016, Tech Executive-1 called an individual at

Internet Company-3. During the call, Tech Executive-1 instructed the individual to task Internet


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Company-3 employees to search for any Internet data reflecting potential connections or

communications between Trump or his associates and Russia.

               e.      In connection with this tasking, Tech Executive-1 later stated that he was

working with someone who had close ties to the Democratic Party and to Hillary Clinton.

               f.      The aforementioned individual and other personnel at Internet Company-3

were uncomfortable regarding this tasking from Tech Executive-1 because they believed that using

the companies’ data in this manner was inappropriate. They complied with the tasking, however,

because Tech Executive-1 was a powerful figure at both companies.

               g.      In connection with this tasking, Tech Executive-1 emailed to Internet

Company-3 personnel a five-page document (the “Trump Associates List”) listing six associates

of Trump and a purported U.S.-based lobbyist for Russian Bank-1 who was also discussed in

written materials prepared by the U.S. Investigative Firm that SUSSMANN would later provide

to the FBI General Counsel. The Trump Associates List contained detailed personal information

for these individuals, including, for example, their names, home addresses, personal email

addresses, business names, business websites and email domains, suspected IP addresses for those

domains, and information pertaining to the spouse of one of these associates. Tech Executive-1

directed that these individuals should be a focus of Internet Company-3’s data queries and analysis.

               h.      On or about August 15, 2016, employees of Internet Company-2, acting at

the request of Internet Company-3, queried their holdings of non-public Internet data against a

lengthy list of more than 9,000 IP addresses, 3,000 internet domains, and 60 email addresses and

domains that related or referred to Trump, the Trump Organization, the aforementioned Trump

associates, and/or Russian Bank-1 (i.e., the bank that was the subject of the allegations that

SUSSMANN later conveyed to the FBI General Counsel).



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               i.      During the same time period, employees of Internet Company-3 also drafted

and provided to Tech Executive-1 a written paper reflecting, in substance, some of the same

technical observations contained in the Russian Bank-1 allegations that SUSSMANN later

conveyed to the FBI.

  Tech Executive-1 Tasks Originator-1 and University Researchers to Search for Internet Data
                                     Regarding Trump

       23.     Also in or around the same time period, and in connection with Tech Executive-l’s

joint efforts with SUSSMANN, Tech Executive-1 similarly tasked Originator-1 and two computer

researchers (“Researcher-1” and “Researcher-2”) who worked at a U.S.-based university

(“University-1”) to search broadly through Internet data for any information about Trump’s

potential ties to Russia. In connection with this tasking, and as alleged in further detail below, Tech

Executive-1’s goal was to support an “inference” and “narrative” regarding Trump that would

please certain “VIPs.” Moreover, and as alleged below, Tech Executive-1 provided information

that he gathered through these interactions to his lawyer, SUSSMANN, so that SUSSMANN

Could assist in drafting and disseminating materials to the media and the FBI.

                               Background on the Agency-1 Contract

               a.      At the time of these exchanges in or about August 2016, a federal

government agency (“Agency-1”) was in the process of finalizing, but had not yet signed, a

cybersecurity research contract with University-1 (the “Agency-1 Contract”). The primary purpose

of the Agency-1 Contract was for University-1 researchers to receive and analyze large quantities

of public and non-public data (including DNS data) from various Internet companies in order to

identify the perpetrators of malicious cyber-attacks and protect U.S. national security.




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              b.       Originator-1 was not a participant in the contract but was the founder of a

company that University-1 researchers were considering as a potential data provider under the

contract.

              c.       Tech Executive-1 and his employer, Internet Company-1, would ultimately

sell large amounts of historical and ongoing DNS data to University-1 for use and analysis under

the Agency-1 Contract.

              d.       Although the Agency-1 Contract was not signed until in or around

November 2016, Internet Company-1 – through Tech Executive-1 – provided University-1 with

early access to its Internet data in order to establish a “proof of concept” for work under the

contract. Among the data that University-1 accessed through Internet Company-1 was the DNS

data of an Executive Branch office of the U.S. government (“Office-1”), which Internet Company-

1 had come to possess as a sub-contractor in a sensitive relationship between the U.S. government

and another company.

              e.       The purpose of providing Internet Company-l’s data to University-1 during

this time period was to enable researchers who worked under the Agency-1 Contract to protect

U.S. networks from cyberattacks. From in or about July 2016 through at least in or about February

2017, however, Originator-1, Researcher-1, and Researcher-2 also exploited Internet Company-

l’s data and other data to assist Tech Executive-1 in his efforts to conduct research concerning

Trump’s potential ties to Russia, including the Russian Bank-1 allegations that SUSSMANN

would later convey to the FBI.

                                  Research Concerning Trump

              f.       For example, on or about July 29, 2016, Researcher-2 emailed to

Researcher-1 the Russian Bank Data compiled by Originator-1.



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                g.      On or about August 19, 2016, Researcher-1 queried internet data maintained

by Internet Company-1 for the aforementioned mail1.trump-email.com domain that was the

subject of the allegations SUSSMANN would later convey to the FBI. Researcher-1 then emailed

Tech Executive-1 and others a list of domains that had communicated with it – none of which

appeared to have links to Russia. Researcher-1 noted that the list “does not make much sense with

the storyline you have,” referring to the storyline connecting Trump to Russia.

                h.      On or about August 20, 2016, Originator-1 emailed Tech Executive-1,

Researcher-1, and Researcher-2, stating, among other things, that “even if we found what [Tech

Executive-1] asks us to find in DNS, we don’t see the money flow, and we don’t see the content

of some message saying ‘send the money here’.” Originator-1 then explained that it would be

possible to “fill out a sales form on two websites, faking the other company’s email address in

each form,” and thereby cause them “to appear to communicate with each other in DNS.”

Originator-1 then concluded: “I[f] [Tech Executive-1] can take the *inference* we gain through

this team exercise . . . then work to develop even an inference may be worthwhile . . ..It’s just not

the case that you can rest assured that Hillary’s opposition research and whatever professional

gov[ernments] and investigative journalists are also digging [will] come up with the same

things[.]” (asterisks in original).

                i.      On or about the same date, Tech Executive-1 clarified in an email to

Originator-1, Researcher-1, and Researcher-2 that the “task” he had given them was “indeed

broad” and further stated, in part:

                Being able to provide evidence of *anything* that shows an
                attempt to behave badly in relation to this, the VIPs would be
                happy. They’re looking for a true story that could be used as the
                basis for closer examination.




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(emphasis added; asterisks in original). Regarding the Russian Bank-1 allegations that he had

provided to SUSSMANN, Tech Executive-1’s email stated: “[T]he prior hypothesis was all that

they needed: [a] mailserver dedicated or related to [T]rump ... and with traffic almost exclusively

with [Russian Bank-1] was sufficient to do the job.” Tech Executive-1 continued, “Trump has

claimed he and his compan[ies] have had NO dealings with .ru other than the failed Casino, and

the Miss universe pageant. He claims absolutely NO interaction with any financial institutions. So

any potential like that would be jackpot.”

               j.      On or about August 21, 2016, Tech Executive-1 emailed the recipients,

urging them to push forward with additional research concerning Trump, which he stated would

“give the base of a very useful narrative.” Later in the same email, Tech Executive-1 expressed his

own belief that the “trump-email.com” domain (referring to the subject of the allegations that

SUSSMANN conveyed to the FBI) was not a secret communications channel with Russian

Bank-1, but “a red herring,” noting that the host for that domain “is a legitimate valid [customer

relationship management] company.” Tech Executive-1 therefore concluded that “we can ignore

it, together with others that seem to be part of the marketing world.”

               k.      On or about August 22, 2016, Researcher-1 emailed the aforementioned

recipients, expressing continued doubt regarding the Russian Bank-1 allegations that

SUSSMANN would later convey to the FBI, and raising concerns about the researchers’ bias

against Trump:

               Let[’]s for a moment think of the best case scenario, where we are
               able to show (somehow) that DNS [] communication exists between
               Trump and R[ussia], How do we plan to defend against the
               criticism that this is not spoofed [] traffic we are observing?
               There is no answer to that. Let’s assume again that they are not
               smart enough to refute our “best case” scenario. [Tech Executive-1],
               you do realize that we will have to expose every trick we have in



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              our bag to even make a very weak association? Let[’]s all reflect
              upon that for a moment. Sorry folks, but unless we get combine
              netflow and DNS traffic collected at critical points between suspect
              organizations, we cannot technically make any claims that would
              fly public scrutiny.

              […]

              The only thing that drive[s] us at this point is that we just do
              not like [Trump]. This will not fly in eyes of public scrutiny.
              Folks, I am afraid we have tunnel vision. Time to regroup?

(emphasis added).

     SUSSMANN and His Client Prepare a White Paper Summarizing the Russian Bank-1
                                     Allegations

       24.    Despite the aforementioned views that the Russian Bank Data and allegations were

a “red herring” that should be “ignored,” SUSSMANN, Tech Executive-1, Originator-1, and the

University-1 researchers began to draft, review, and revise a “white paper” summarizing the

Russian Bank-1 allegations that SUSSMANN would later provide to the FBI. SUSSMANN

continued to bill time on these matters to the Clinton Campaign.

              a.      For example, on or about September 5, 2016, SUSSMANN began billing

work for the drafting of the aforementioned white paper. SUSSMANN billed this work to the

Clinton Campaign with a billing description that read, in part, “work on white paper; follow-up

telephone conferences and email.” (emphasis added),

              b.      On or about September 6, 2016, SUSSMANN continued to work on the

white paper. On or about the same date, SUSSMANN also met with representatives of the U.S.

Investigative Firm and communicated with the media. SUSSMANN billed this work to the Clinton

Campaign with the billing description, “Meeting with consultant [and Campaign Lawyer-1];

revisions to white paper; meeting with expert; meeting with expert and reporter; follow-up

meeting with reporter; conversations with [Campaign Lawyer-1],” (emphasis added).



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               c.      On or about September 7, 2016, SUSSMANN continued work on the white

paper. SUSSMANN billed his time for that work to the Clinton Campaign with the billing

description, “Meetings and other communications regarding confidential project; work on written

materials.”

(emphasis added).

               d.      On or about September 14, 2016 – five days before his meeting with the

FBI General Counsel – SUSSMANN continued work on the white paper. SUSSMANN also met

with Tech Executive-1 in SUSSMANN’s office. On or about the same date, SUSSMANN billed

time to the Clinton Campaign with the billing description “Multiple meetings regarding

confidential project, draft white paper [],” and to Internet Company-1 with the billing description,

“communications regarding confidential project.” (emphasis added).

               e.      On or about the same day – and just five days before SUSSMANN

conveyed the aforementioned allegations to the FBI – Tech Executive-1 sent the white paper that

SUSSMANN had been working on to Originator-1, Researcher-1, and Researcher-2. In an email,

Tech Executive-1 sought their views as to whether the paper’s allegations would be “plausible” to

“security experts,” even if the allegations were not demonstrably true:

               Please read as if you had no prior knowledge or involvement, and
               you were handed this document as a security expert (NOT a dns
               expert) and were asked: ‘Is this plausible as an explanation?’ NOT
               to be able to say that this is, without doubt, fact, but to merely
               be plausible. Do NOT spend more than a short while on this (If
               you spend more than an hour you have failed the assignment).
               Hopefully less. :)

(emphasis added).




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              f.        On or about the same date, Researcher-1 replied, stating that the white paper

achieved Tech Executive-l’s objective, but noting that the paper “smartly” avoided discussing

weaknesses or “holes” in the paper’s hypothesis:

              A DNS expert would poke several holes to this hypothesis
              (primarily around visibility, about which very smartly you do not
              talk about). That being said, I do not think even the top security
              (non-DNS) researchers can refute your statements. Nice!

(emphasis added).

              g.        On or about September 15, 2016, Originator-1 responded to Tech

Executive-1, stating, in part, that the paper’s conclusion was “plausible” in the “narrow scope”

defined by Tech Executive-1.

              h.        On or about the same date, Researcher-2 replied, acknowledging that

questions remained, but stating, in substance and in part, that the paper should be shared with

government officials.

              i.        On or about September 16, 2016, Originator-1 replied to the aforementioned

recipients, discussing an allegation that SUSSMANN would soon convey to the FBI regarding

Russian Bank-1’s alleged use of a purported “TOR exit node” (i.e., a node used for anonymized

internet traffic) at a particular U.S.-based healthcare company (“Healthcare Company-1”) to

communicate with the Trump Organization. Originator-1’s email stated, in part, “[Tech Executive-

1] has carefully crafted a message that could work to accomplish the goals.”

              SUSSMANN Shares the Russian Bank-1 Allegations with the Media

       25.    In or around the same time period, SUSSMANN, acting on behalf of Tech

Executive-1 and the Clinton Campaign, disseminated the Russian Bank-1 allegations to the media.

SUSSMANN billed this time to the Clinton Campaign.




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               a.     For example, on about August 30, 2016, Reporter-1 – who would later

author the above-referenced October 31, 2016 article about the Russian Bank-1 allegations –

emailed SUSSMANN: “I’m back in town. I see Russians are hacking away. [A]ny big news?”

               b.     SUSSMANN replied on the same date: “Mind reader! . . . Can you meet

Thurs and Fri?”

               c.     On or about September 1, 2016, SUSSMANN met with Reporter-1.

SUSSMANN billed his time for the meeting to the Clinton Campaign under the broader billing

description “confidential meetings regarding confidential project.”

               d.     On or about September 12, 2016, SUSSMANN spoke with Campaign

Lawyer-1 via phone regarding SUSSMANN’s efforts to communicate with Newspaper-1

regarding the Russian Bank-1 allegations. SUSSMANN and Campaign Lawyer-1 each billed the

call to the Clinton Campaign with Campaign Lawyer-1 using the billing description

“teleconference with M. Sussmann re: [Newspaper-1],” and SUSSMANN using the description

“work regarding confidential project.”

               e.     On or about September 15, 2016, Campaign Lawyer-1 exchanged emails

with the Clinton Campaign’s campaign manager, communications director, and foreign policy

advisor concerning the Russian Bank-1 allegations that SUSSMANN had recently shared with

Reporter- 1. Campaign Lawyer-1 billed his time for this correspondence to the Clinton Campaign

with the billing entry, “email correspondence with [name of foreign policy advisor], [name of

campaign manager], [name of communications director] re: [Russian Bank-1] Article.”

(emphasis added).




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                      SUSSMANN Prepares for His Meeting with the FBI

       26.    From on or about September 17 through on or about September 18, 2016 – i.e., the

weekend before SUSSMANN’s Monday meeting with the FBI General Counsel – SUSSMANN

continued to work on disseminating the Russian Bank-1 allegations on behalf of Tech Executive-

1 and the Clinton Campaign, and continued to bill his work to the campaign.

              a.      For example, on or about September 17, 2016, SUSSMANN spoke on the

phone with Researcher-2. During the phone call, SUSSMANN, among other things, requested that

Researcher-2 speak on background with members of the media regarding the Russian Bank-1

allegations, which Researcher-2 did over the course of the following weeks.

              b.      On or about the same date, SUSSMANN sent to Researcher-2 an electronic

file containing materials he would provide two days later to the FBI General Counsel, including,

among other things, the aforementioned white paper that SUSSMANN had assisted in drafting,

and another white paper drafted by the U.S. Investigative Firm concerning purported ties between

Russian Bank-l’s parent company and the Russian government.

              c.      SUSSMANN billed all of the aforementioned work on or about September

17, 2016 to the Clinton Campaign with the billing description “Multiple telephone conferences

and other communications with experts, media; communications with [Campaign Lawyer-1].”

(emphasis added).

              d.      On or about the next day – Sunday, September 18, 2016 – SUSSMANN

continued to work on the Russian Bank-1 allegations, and to prepare for his meeting with the FBI.

SUSSMANN billed this time to the Clinton Campaign with the billing description “Further

communications and work regarding confidential project.”




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                    SUSSMANN’s False Statement to the FBI General Counsel

         27.   On or about September 19, 2016, SUSSMANN met with the FBI General Counsel

at FBI Headquarters in the District of Columbia to convey the Russian Bank-1 allegations. No one

else attended the meeting. During the meeting, the following, in substance and in part, occurred:

               a.      SUSSMANN stated falsely that he was not acting on behalf of any client,

which led the FBI General Counsel to understand that SUSSMANN was conveying the allegations

as a good citizen and not as an advocate for any client;

               b.      SUSSMANN stated that he had been approached by multiple cyber experts

concerning the Russian Bank-1 allegations;

               c.      SUSSMANN provided the names of three cyber experts, but did not name

or mention Tech Executive-1, the Clinton Campaign, or any other person or company referenced

above;

               d.      SUSSMANN described the allegations of a secret Trump Organization

server that was in communication with Russian Bank-1, including that Russian Bank-1 had used a

TOR exit node located at Healthcare Company-1 to communicate with the Trump Organization;

               e.      SUSSMANN stated that media outlets were in possession of information

about the Trump Organization’s secret server, and that a story would be published on Friday of

that week;

               f.      SUSSMANN provided to the FBI General Counsel two thumb drives and

hard copy papers, which contained and were comprised of the following:

                       i.     the aforementioned white paper that SUSSMANN had assisted in

drafting, entitled White Paper #1 Auditable V3, which contained no date or author’s name;




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                      ii.     a white paper drafted by Researcher-2, which was entitled, White

Paper Comments: Time Series Analysis of Recursive Queries, dated September 19, 2016, and

contained no author’s name;

                      iii.    the aforementioned white paper drafted by the U.S. Investigative

Firm regarding Russian Bank-1 and its parent company, which contained no date or author’s name;

and

                      iv.     eight files containing the Russian Bank Data and other purported

data and information relating to the mail1.trump-email.com domain.

       28.    Immediately after the aforementioned September 19, 2016 meeting, the FBI

General Counsel spoke with the Assistant Director of the FBI’s Counterintelligence Division.

During their conversation, the FBI General Counsel conveyed the substance of his meeting with

SUSSMANN. The Assistant Director took contemporaneous handwritten notes which reflect, in

substance, the above-referenced statements by SUSSMANN and state, in relevant part:

       Michael Sussman[n] – Atty: [Law Firm-1] – said not doing this for any client

       •      Represents DNC, Clinton Foundation, etc.
              []
       •      Been approached by Prominent Cyber People (Academic or Corp. POCs)
              People like: [three names redacted]

(emphasis added)

       29.    SUSSMANN billed his meeting with the FBI General Counsel to the Clinton

Campaign with the billing description, “work and communications regarding confidential project.”

       30.    SUSSMANN’s statement to the FBI General Counsel that he was not acting on

behalf of any client was knowingly and intentionally false. In truth and in fact, and as SUSSMANN

well knew, SUSSMANN acted on behalf of and in coordination with two specific clients of Law

Firm-1, i.e., Tech Executive-1 and the Clinton Campaign, in assembling and conveying these


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allegations. In particular, and as also alleged above, Tech Executive-1 consulted and relied on

SUSSMANN as his lawyer to assist in disseminating the Russian Bank-1 allegations. Moreover,

all or nearly all of SUSSMANN’s recorded time and work relating to the Russian Bank-1

allegations prior to the meeting with the FBI (including communications with the media) were

billed to the Clinton Campaign. Indeed, and as SUSSMANN concealed and failed to disclose, (i)

SUSSMANN had spent time drafting one of the white papers he provided to the FBI General

Counsel and billed that time to the Clinton Campaign, and (ii) the U.S. Investigative Firm – which

at the time was also acting as a paid agent of the Clinton Campaign – had drafted another of those

white papers.

       31.      In addition, and as alleged in further detail below, SUSSMANN testified under oath

before Congress in 2017 that he, in fact, conveyed the Russian Bank-1 allegations to the FBI

General Counsel “on behalf of my client.” See Paragraph 44, infra.

       32.      In the days following SUSSMANN’s meeting with the FBI General Counsel, and

as a result of that meeting, the FBI opened an investigation of the Russian Bank-1 allegations.

SUSSMANN’s false statement to the FBI General Counsel was material to that investigation

because, among other reasons, it was relevant to the FBI whether the conveyor of these allegations

(SUSSMANN) was providing them as an ordinary citizen merely passing along information, or

whether he was instead doing so as a paid advocate for clients with a political or business agenda.

Had SUSSMANN truthfully disclosed that he was representing specific clients, it might have

prompted the FBI General Counsel to ask SUSSMANN for the identity of such clients, which, in

turn, might have prompted further questions. In addition, absent SUSSMANN’s false statement,

the FBI might have taken additional or more incremental steps before opening and/or closing an

investigation. The FBI also might have allocated its resources differently, or more efficiently, and



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uncovered more complete information about the reliability and provenance of the purported data

at issue.

        SUSSMANN Continues to Communicate with the Media on Behalf of His Clients

        33.    Further demonstrating that SUSSMANN carried out the aforementioned work on

behalf of his clients, SUSSMANN continued in the weeks following this meeting to coordinate

with Tech Executive-1, Campaign Lawyer-1, and the U.S. Investigative Firm to disseminate the

Russian Bank-1 allegations to the media. SUSSMANN continued to bill his time for such work to

the Clinton Campaign.

        34.    For example, on or about October 10, 2016, SUSSMANN emailed Reporter-1 a

link to an opinion article which asserted, in substance and in part, that Newpaper-l’s investigative

reporters had not published as many stories regarding Trump as other media outlets. The subject

line of SUSSMANN’s email was “for your editors,” and the body stated, “You should send this

link to them.” At or around that time, and according to public sources, Reporter-1 was working on

an article concerning the Russian Bank-1 allegations, but Reporter- l’s editors at Newspaper-1 had

not yet authorized publication of the article.

        35.    On or about October 30, 2016, an employee of the U.S. Investigative Firm (the

“Investigative Firm Employee”) forwarded another reporter (“Reporter-2”) a tweet, which

indicated that the FBI Director had “explosive information about Trump’s ties to Russia.” The

Investigative Firm Employee’s email stated, “time to hurry,” suggesting that Reporter-2 should

hurry to publish an article regarding the Russian Bank-1 allegations. In response, Reporter-2

emailed to the Investigative Firm Employee a draft article regarding the Russian Bank-1

allegations, along with the cover message: “Here’s the first 2500 words.”




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       36.      On or about the following day, October 31, 2016, both Reporter-1 and Reporter-2

published articles regarding the Russian Bank-1 allegations.

       37.      On or about the same date, SUSSMANN continued to communicate with several

reporters about the media coverage, billing these communications to the Clinton Campaign with

the billing description, “Communications regarding [Reporter-2’s employer] story, [Newspaper-

1] reporting; communications with [another news outlet].”

       38.      Soon after the 2016 U.S. Presidential election, the Clinton Campaign ceased to

exist, and SUSSMANN stopped billing his recorded time on these matters to the Clinton

Campaign. In the ensuing months, SUSSMANN billed some of his time on the Russian Bank-1

allegations and related matters to Tech Executive-1.

             SUSSMANN Repeats His False Statement to Another Government Agency

       39.      In or about late 2016 and early 2017, Tech Executive-1, Originator-1, and

Researcher-2 continued to compile additional information and data regarding the Russian Bank-1

allegations, and gathered other purported data allegedly involving Trump-related computer

networks and Russia (collectively, the “Updated Allegations”). SUSSMANN would later convey

these allegations to another U.S. government agency (“Agency-2”). In doing so, and as alleged

below, SUSSMANN repeated, in substance, the same false statement he had made to the FBI

General Counsel that he was not acting on behalf of a client.

                           SUSSMANN Seeks a Meeting with Agency-2

       40.      In or about late December 2016, SUSSMANN contacted the General Counsel of

Agency-2 to set up a meeting regarding the Updated Allegations, but the meeting did not go

forward.




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          41.   Approximately one month later, SUSSMANN contacted a former employee of

Agency-2 (the “Former Employee”) in a further attempt to obtain a meeting at Agency-2. The

Former Employee communicated with SUSSMANN on or about January 31, 2017, during which

the following, in substance and in part, occurred:

                a.    Contrary to his prior false representation to the FBI General Counsel and a

representation he would subsequently make to Agency-2 (see below), SUSSMANN advised the

Former Employee that he represented a “client.”

                b.    SUSSMANN summarized the Updated Allegations.

                c.    SUSSMANN requested that the Former Employee assist him in obtaining

a meeting with Agency-2 and stated that if Agency-2 was not interested, SUSSMANN’s client

would likely go to Newspaper-1 with the allegations.

                     SUSSMANN Repeats His False Statement to Agency-2

          42.   On or about February 9, 2017, SUSSMANN met with two Agency-2 employees

(“Employee-1” and “Employee-2”) at a location outside the District of Columbia. At the meeting,

the following, in substance and in part, occurred;

                a.    SUSSMANN stated falsely – as he previously had stated to the FBI General

Counsel – that he was “not representing a particular client.” In truth and in fact, and as SUSSMAN

had acknowledged to the Former Employee just days earlier, SUSSMANN was representing a

client.

                b.    SUSSMANN disclosed that Law Firm-1 was active in representing several

Democratic Party causes and officer-holders, including both the DNC and Hillary Clinton.

SUSSMANN stated, however, that such work was unrelated to his reasons for contacting Agency-

2.



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               c.     SUSSMANN discussed and described the Updated Allegations, including

new details concerning the Russian Bank-1 allegations that he had not provided to the FBI General

Counsel.

               d.     SUSSMANN provided to the Agency-2 Employees (i) several white papers,

and (ii) multiple data files containing purported DNS data, ranging from 2016 through early 2017.

       43.     After the meeting with SUSSMANN, Employee-1 and Employee-2 drafted and

revised a Memorandum for the Record that reflected the above-described statements by

SUSSMANN.

           SUSSMANN Contradicts His False Statements in Testimony Before Congress

       44.     In or about December 2017, SUSSMANN testified under penalty of perjury before

staffers of the House Permanent Select Committee on Intelligence, which was investigating

Russian interference and other matters relating to the 2016 Presidential election. During his

testimony, SUSSMANN directly contradicted his false statements to the FBI and Agency-2 that

he was not acting on behalf of any client:

       Q:      [] When you decided to engage the two principals, one, [the FBI
               General Counsel] in September, and the general counsel of
               [Agency-2] in December, you were doing that on your own
               volition, based on information another client provided you. Is that
               correct?

       A:      No.

       Q:      So what was — so did your client direct you to have those
               conversations?

       A:      Yes.

       Q:      Okay. And your client also was witting of you going to [redacted]
               in February to disclose the information that individual had provided
               you?

       A:      Yes



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       [. . .]

       Q:        Okay. I want to ask you, so you mentioned that your client directed
                 you to have these engagements with the FBI and [redacted] and to
                 disseminate the information that client provided you. Is that correct?

       A:        Well, I apologize for the double negative. It isn’t not correct, but
                 when you say my client directed me, we had a conversation, as
                 lawyers do with their clients, about client needs and objectives and
                 the best course to take for a client. And so it may have been a
                 decision that we came to together. I mean, I don’t want to imply that
                 I was sort of directed to do something against my better judgment,
                 or that we were in any sort of conflict, but this was -- I think it’s
                 most accurate to say it was done on behalf of my client.

(emphasis added).




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                                          COUNT ONE

       45.     Paragraphs 1 to 44 are incorporated by reference.

       46.     On or about September 19, 2016, within the District of Columbia, MICHAEL A.

SUSSMANN, the defendant, did willfully and knowingly make a materially false, fictitious, and

fraudulent statement or representation in a matter before the jurisdiction of the executive branch

of the Government of the United States, to wit, on or about September 19, 2016, the defendant

stated to the General Counsel of the FBI that he was not acting on behalf of any client in conveying

particular allegations concerning a Presidential candidate, when in truth, and in fact, and as the

defendant well knew, he was acting on behalf of specific clients, namely, Tech Executive-1 and

the Clinton Campaign.

                (In violation of Title 18, United States Code, Section 1001(a)(2))




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